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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF TEXAS
                        FT.WORTH DIVISION
                                         §
Robert "Bob" Ross                        §
Plaintiff,
                                         §
                                         §
                                         §
V.
                                         §
                                         §
DIVERSIFIED CREDIT SYSTEMS,
ASSOCIATION OF PROFESSIONAL              §
FLIGHT ATTENDANTS, JULIE                 §
HEDRICK, ERIK HARRIS,                    §
Defendants.                              §



       AFFIDAVIT OF EUGENIO VARGAS IN SUPPORT OF PLAINTIFF'S
                ORIGINAL PETITION AND MOTION TO VACATE
BEFORE ME, the undersigned authority, on this day personally appeared Eugenio

Vargus, who being by me first duly sworn, did state:

      1.     "I am employed as a Flight Attendant working with American Airlines,

             Inc. and I served as the National Treasurer for the Association of

             Professional Flight Attendants ("APFA"), from April 1, 2016 to July 1,

             2018. I have personal knowledge of the fact, I am 21 years or older and

             of sound mind to make these statements.

             a. During my administration of my duties as National Treasurer, it was

                my responsibility to review all incoming charges, expenses and

                receipts of the APFA National President. It was my responsibility to

                raise any concern and forward any charge or receipt with which I

                questioned as to whether it was a valid business-related expense,


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                                                                    Exhibit E
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             back to the individual for a more detailed explanation prior to

             granting approval or denial.

          b. At that time I served with Robert “Bob” Ross (“Ross”) as the National

             President of APFA. Any charges made by Ross, that I questioned

             were cleared and all questions rectified. Any of Ross’s union credit

             card charges, expenses and receipts that I reviewed and approved

             were in compliance with APFA policy at the time of approval.

          c. Charges made by Robert “Bob” Ross never gave rise to any suspicion

             of theft, misappropriation, or breach of his fiduciary duty, or conduct

             unbecoming an APFA officer whatsoever.

          d. On or about May 25, 2018, I had a conversation with Robert (Bob)

             Ross regarding any outstanding charges that should be repaid to

             APFA. I informed him the charges made for his furniture for the

             APFA apartment should be repaid. He authorized me to contact

             APFA payroll and have the expenses of $3637.92 - $331.28 (deduction

             for returned furniture) deducted from his payroll, which I sent an

             email to payroll to have these funds deducted.




    FURTHER AFFIANT SAYETH NOT.

                                            _______________________________
                                            Eugenio Vargus
                                       Eugenio Vargas who produced Texas drivers license as
                                       identification
                                     2 of 3
                                                                          Exhibit E
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    SWORN AND SUBSCRIBED TO before me on this _____
                                              17th day of April, 2022.



                                            ________________________________
                                            Notary Public, State of Texas
                                             Remote Online Notary Public
                                            State of Texas, Jefferson County




                                  KBA online using audio video communication




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                                                                        Exhibit E
